      Case 3:19-cv-00764-LAB-AGS Document 1 Filed 04/25/19 PageID.1 Page 1 of 7



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 6

 7

 8
                             UNITED STATES DISTRICT COURT
 9
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11
     LUMINENCE, LLC,
12
                           Plaintiff,                   CASE NUMBER: '19CV0764 BEN AGS
13
             vs.                                        COMPLAINT, JURY DEMAND
14
     WeSellExpress LLC, a company, and
15
     Gerard Shi, an individual,
16
                          Defendant.
17

18
                             COMPLAINT AND JURY DEMAND
19
           Plaintiff, Luminence, LLC (“Plaintiff”), by its undersigned attorneys, CAPRON
20
     LAW OFFICES, for its Complaint alleges as follows:
21
                                SUBSTANCE OF THE ACTION
22
           1. This is a case of willful copyright infringement in violation of 17 U.S.C. §§
23
     106(1), 501, and 1202, and 815 I.L.C.S. § 510 et seq. Plaintiff seeks compensatory
24
     and/or statutory damages in an amount to be established at trial.
25
                                               PARTIES
26
           2. Plaintiff is a limited liability company registered in California with a principal
27
     place of business at 5580 La Jolla Boulevard #37, La Jolla, California 92037.
28



                                                    1

                                        COMPLAINT AND JURY DEMAND
      Case 3:19-cv-00764-LAB-AGS Document 1 Filed 04/25/19 PageID.2 Page 2 of 7



 1
            3. Upon information and belief, WeSellExpress LLC is a company duly organized
 2
     and existing under the laws of Virginia with a principal place of business at 1407
 3
     CAMPBELL COURT, LEESBURG VA 20176; Gerard Shi is an individual with a
 4
     principal place of residence at 1407 CAMPBELL COURT, LEESBURG VA 20176.
 5
                                   JURISDICTION AND VENUE
 6
            4. This is a civil action seeking damages and injunctive relief for copyright
 7
     infringement under the copyright laws of the United States, and therefore this Court has
 8
     jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal question
 9
     jurisdiction), and 28 U.S.C. § 1338(a) (jurisdiction over copyright actions).
10
            5. Personal jurisdiction over Defendant is proper. Defendant is conducting
11
     business in this District with systematic and continuous contacts within this state, and
12
     committing torts in this state, including without limitation Defendant’s copyright
13
     infringement, which causes harm in this state and judicial district.
14
            6. Pursuant to 28 U.S.C. § 1391, venue properly lies in this Court because a
15
     substantial part of the events giving rise to the claims herein occurred in this judicial
16
     district.
17
                     FACTS COMMON TO ALL CLAIMS FOR RELIEF
18
     A.     Plaintiff’s Business
19
            7. Plaintiff creates and sells fun and unique fiber optic light-up accessories
20
     including, but not limited to, its Glowbys® brand hair attachments.
21
            8. Plaintiff sells its products through its website, www.luminence.com.
22
            9. In support of its business, Plaintiff created artistic and expressive photographic
23
     images of Glowbys products displayed on a model.
24
            10. On February 26, 2013, Plaintiff obtained a registration with the United States
25
     Copyright Office, Registration Number VA 1-897-465, for the photographic work
26
     entitled Girl Wearing Glowbys 1. Plaintiff subsequently obtained registrations with the
27
     United States Copyright Office for the photographic works entitled: Girl with Pigtails
28
     Wearing Glowbys, Registration Number VA 2-030-354; Girl Wearing Purple

                                                   2

                                      COMPLAINT AND JURY DEMAND
      Case 3:19-cv-00764-LAB-AGS Document 1 Filed 04/25/19 PageID.3 Page 3 of 7



 1
     Glowbys, US Registration Number VA 2-058-360; Girl Wearing Multicolor
 2
     Glowbys, US Registration Number VA 2-033-238; and Girl Wearing Green
 3
     Gem Glowbys, US Registration Number VA 2-086-428.
 4
           11. The registered photographic works are collectively referred to as the
 5
     “Copyrighted Works”. Plaintiff’s Copyrighted Works are viewable and downloadable at
 6
     www.luminence.com/Photos.html.
 7
           12. Viewable and downloadable at www.luminence.com/CopyrightCert.html are
 8
     copies of United States Copyright Registration Numbers of the Copyrighted Works.
 9
           13. Plaintiff has never licensed, authorized, or otherwise permitted the Defendant
10
     to reproduce, distribute, display or otherwise use the Copyrighted Works.
11
     B.    Defendant’s Unlawful Activities
12
           14. Defendant markets and sells various retail products including fiber optic light
13
     up hair clips on its’ eBay online store gerardshi01 and its’ Amazon online store
14
     iamnicest. Defendant directly competes with Plaintiff by selling competing Flash Braid
15
     brand fiber optic light-up hair accessories (“Competing Product”). The packaging of the
16
     Competing Product makes unauthorized use of one of the Copyrighted Works (VA 1-
17
     897-465).
18
           15. On November 29, 2017, Plaintiff recorded Plaintiff’s eBay listing
19
     122824367940 showing the Copyrighted Works and the Competing Product.
20
           16. On December 13, Plaintiff ordered a fiber optic light up hair clip product from
21
     Defendant’s Amazon listing B077VWXJ6H. The listing showed images of the
22
     Copyrighted Works and the Competing Product. Based on that on-line order and
23
     purchase, Defendant shipped its hair clip product to Plaintiff's investigator. Defendant’s
24
     hair clip product was the Competing Product.
25
           17. On December 20, 2017, Plaintiff wrote to Defendant via eBay message to
26
     inform it of Plaintiff’s registration of the Copyrighted Works and of the infringing
27
     packaging of the Competing Product. Plaintiff requested that Defendant immediately
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                                     COMPLAINT AND JURY DEMAND
      Case 3:19-cv-00764-LAB-AGS Document 1 Filed 04/25/19 PageID.4 Page 4 of 7



 1
     remove the Copyrighted Works and stop selling the Competing Product in the infringing
 2
     packaging.
 3
           18. On December 21, 2017 Defendant responded to Plaintiff’s eBay message,
 4
     indicating “the images have been removed”. However, none of the Copyrighted Works
 5
     were removed from the listing. The Plaintiff’s Amazon listing continued to be available
 6
     for sale, as well as show the Copyrighted Works and the Competing Product.
 7
           19. On February 8, 2018, Plaintiff again ordered a fiber optic light up hair clip
 8
     product from Defendant’s Amazon listing B0778WHVGV, which showed the
 9
     Copyrighted Works. Based on that on-line order and purchase, Defendant shipped its
10
     hair clip product to Plaintiff's investigator. Defendant’s hair clip product was the
11
     Competing Product.
12
           20. On February 11, 2018, Plaintiff recorded Defendant’s eBay listing
13
     122853255774 showing the Copyrighted Works and selling the Competing Product.
14
           21. Although no longer available for sale, the Copyrighted Works continue to be
15
     visible on the Plaintiff’s Amazon listings until the current day.
16
           22. Despite notice and demand, Defendant willfully and intentionally continued to
17
     infringe on Plaintiff’s exclusive copyright in the Copyrighted Works.
18
           23. Defendant has not denied that its packaging displayed infringing copies of the
19
     Copyrighted Work, and Defendant has not asserted any valid justification or basis to
20
     believe it had a right to reproduce, distribute or display the Copyrighted Works.
21
                                   FIRST CLAIM FOR RELIEF
22
                            DIRECT COPYRIGHT INFRINGEMENT
23
                                       (17 U.S.C. § 101 et seq.)
24
           24. Plaintiff realleges paragraphs 1 through 23 above and incorporates them by
25
     reference as if fully set forth herein.
26
           25. The Copyrighted Work is an original work of authorship, embodying
27
     copyrightable subject matter, and is entitled to the full protection of the United States
28



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                                       COMPLAINT AND JURY DEMAND
      Case 3:19-cv-00764-LAB-AGS Document 1 Filed 04/25/19 PageID.5 Page 5 of 7



 1
     copyright laws. Plaintiff owns all exclusive rights to reproduce, distribute, display, and
 2
     make derivative works of, the Copyrighted Work.
 3
           26. Upon information and belief, as a result of Plaintiff’s reproduction,
 4
     distribution and public display of the Copyrighted Work, Defendant and/or the supplier
 5
     of packaging materials used by the Defendant, had access to the Copyrighted Work prior
 6
     to the creation, distribution and display of Defendant’s infringing packaging.
 7
           27. By its actions, as alleged above, Defendant has infringed and violated
 8
     Plaintiff’s exclusive rights under the Copyright Act, 17 U.S.C. §501, by reproducing,
 9
     distributing and publicly displaying its infringing reproduction or derivative variation of
10
     the Copyrighted Work as part of the packaging for its fiber optic light up hair clip
11
     product.
12
           28. Defendant’s infringement of Plaintiff’s exclusive copyrights in the
13
     Copyrighted Work, despite actual notice and demand to cease its infringement, has been
14
     willful and deliberate, and Defendant has profited at the expense of Plaintiff as a result
15
     of its infringing conduct.
16
           29. Pursuant to 17 U.S.C. § 504(b), Plaintiff is entitled to recover his actual
17
     damages from Defendant’s misappropriation of the Copyrighted Work without paying a
18
     license fee, and the disgorgement of Defendant’s profits related to its infringement of the
19
     Copyrighted Work, which amounts will be proven at trial.
20
           30. Alternatively, at Plaintiff’s election, Plaintiff is entitled to an award of
21
     statutory damages under 17 U.S.C. §§ 504(c) in an amount to be determined after trial,
22
     up to a maximum of $150,000, based on Defendant’s willful infringement of the
23
     Copyrighted Work.
24
           31. Defendant’s conduct has caused, and any continued infringing conduct will
25
     further cause, irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has
26
     no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a
27
     permanent injunction prohibiting infringement of Plaintiff’s exclusive rights under
28
     copyright law.

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                                      COMPLAINT AND JURY DEMAND
      Case 3:19-cv-00764-LAB-AGS Document 1 Filed 04/25/19 PageID.6 Page 6 of 7



 1
           WHEREFORE, Plaintiff demands judgment as follows:
 2
           1. Judgment in favor of the Plaintiff finding that Defendant has infringed
 3
     Plaintiff’s exclusive copyrights in the Copyrighted Work under the Copyright Act;
 4
           2. Judgment in favor of the Plaintiff finding that Defendant’s infringement is
 5
     willful;
 6
           3. An award of such of actual damages and profits under 17 U.S.C. § 504(b) as the
 7
     determined after trial, or, in the alternative and at Plaintiff’s election, an award of
 8
     statutory damages under 17 U.S.C. § 504(c), up to a maximum of $150,000;
 9
           4. An award to the Plaintiff of its costs incurred in this action, including its
10
     reasonable attorneys’ fees, pursuant to 17 U.S.C. § 505;
11
           5. An award to the Plaintiff of interest, including pre-judgment interest, on the
12
     foregoing sums;
13
           6. Permanently enjoining Defendant, its employees, agents, officers, directors,
14
     attorneys, successors, affiliates, subsidiaries and assigns, and all those in active concert
15
     and participation with Defendant:
16
                  (a)    from directly or indirectly infringing Plaintiff’s copyrights or
17
                         continuing to market, offer, sell, dispose of, license, lease, transfer,
18
                         publicly display, advertise, reproduce, develop or manufacture any
19
                         works derived or copied from the Plaintiff’s Copyrighted Work or to
20
                         participate or assist in any such activity; and
21
                  (b)    destroying all copies, whether electronic or physical, of the Plaintiff’s
22
                         Copyrighted Work.
23
           7. For such other and further relief as the Court may deem just and proper.
24
                                          JURY DEMAND
25
           Plaintiff hereby demands a trial by jury pursuant to Fed. R. Civ. P. 38.
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                                       COMPLAINT AND JURY DEMAND
      Case 3:19-cv-00764-LAB-AGS Document 1 Filed 04/25/19 PageID.7 Page 7 of 7



 1   Dated: April 25, 2018                   Respectfully submitted,
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 2
                                             By: s/Matthew Capron
 3                                           MATTHEW CAPRON
 4                                           Attorneys for Luminence, LLC
 5
                                             email: mcapron@capronlegal.com

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                                 COMPLAINT AND JURY DEMAND
